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                       IN TI3k~ UNITED STATES BANKRUPTCY CQURT
                             FQR THE DISTRICT QF DELAWARE



Iii iE:                                                     ~     Ciapt~r 11

DAVID'S BRIDAL,INC., ~t al.,'                              )     Case No. 18-12635 (LSS)

                           Debtors.                        )     (Joint Administration Requested)


                        NOTICE OF APPEARANCE AND REQUEST
                    FOR SERVICE PURSUANT TO FED. R. BANKR.P. 2002

                 PLEASE TAKE NOTICE that certain financial institutions from time to time

each a party as term lenders to the existing credit agreement with the above-captioned debtors

(collectively, the "Ad Hoc Term Lender Group") hereby appear by their counsel, Jones Day and

Pachulski Stang Ziehl &Jones LLP ("PSZJ"). Jones Day and PSZJ hereby enter their

appearances pursuant to section 1109(b) of title 11 of the United States Code (the "Bankruptcy

Code"), and Rule 9010(b) ofthe Federal Rules of Bankruptcy Procedure (the "BankruptcX

Rules"), and request that the undersigned be added to the official mailing matrix and service lists

in these cases. Jones Day and PSZJ request, pursuant to Bankruptcy Rules 2002, 3017 and 9007

and section 1109(b) of the Bankruptcy Code, that copies of all notices and pleadings given or

required to be given in these chapter 11 cases and copies of all papers served or required to be

served in these chapter 11 cases, including but not limited to, all notices (including those

required by Bankruptcy Rule 2002), reports, pleadings, motions, applications, lists, schedules,

statements, chapter 11 plans, disclosure statements and all other matters arising herein or in any

related adversary proceeding, be given and served upon the Ad Hoc Term Lender Group through


     The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number,
     are: David's Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
     (3096). The location of the Debtors' corporate headquarters is 1001 Washington Street, Conshohocken,
     Pennsylvania 19428.


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service upon Jones Day and PSZJ at the addresses, telephone, and facsimile numbers set forth

below:

JONES DAY                                      PACHULSKI STANG ZIEHL &JONES LLF
Scott J. Greenberg                             Laura iJavis .iones
Michael J. Cohen                               Timothy P. Cairns
Nicholas J. Morin                              Joseph M. Mulvihill
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                                                      jmulvihill@pszjlaw.com

                PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) ofthe

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

                PLEASE TAKE FURTHER NOTICE that this Notice ofAppeaNance and

Request,fo~ Service Pursuant to Fed. R. I3ankr. P. 2002 shall not be deemed or construed to be a

waiver of any of the rights ofthe Ad Hoc Term Lender Group, including, without limitation, to

(i) have final orders in non-core matters entered only after de novo review by a higher court,

(ii) trial by jury in any proceeding so triable in this case, or any case, controversy, or adversary

proceeding related to this case,(iii) have the reference withdrawn in any matter subject to

mandatory or discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs,



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or recoupments to which the Ad Hoc Term Lender Group may be entitled in law or in equity, all

of which rights, elaim~, actions, d~fens~s, setoffs, and recoupments are expressly reserve.



Dated: November 19, 2018                         FACHULSKI STANG ZIEHL &JONES LLP


                                                 /s/ LaztNa Davis Jones
                                                 Laura Davis Jones(DE Bar No. 2436)
                                                 Timothy P. Cairns(DE Bar No. 4228)
                                                 Joseph M. Mulvihill(DE Bar No. 6061)
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                                                 -and-

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                                                 Counsel to the Ad Hoc Term LendeN Group




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